Case 1:20-cv-00389-CNS-GPG Document 140 Filed 10/10/22 USDC Colorado Page 1 of 5




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:20-cv-00389-CNS-GPG

    ST. PAUL FIRE AND MARINE INSURANCE COMPANY,
    a Connecticut corporation,

                  Plaintiff,

           v.

    PAUL B. JONES; and
    WOMEN’S HEALTH CARE OF WESTERN COLORADO,
    PC, formally known as ROBERT HACKETT, LOUIS
    IRVIN, STEPHEN MEACHAM, PAUL JONES,
    MEACHAM & JONES, PARTNERSHIP &
    GYNECOLOGICAL ASSOCIATION, formally known as
    ROBERT HACKETT, STEPHEN MEACHAM, PAUL
    JONE, MEACHAM & JONES PARTNERSHIP &
    GYNECOLOGICAL ASSOCIATION,

                  Defendants.


   PLAINTIFF ST. PAUL FIRE AND MARINE INSURANCE COMPANY’S UNOPPOSED
    MOTION FOR EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF MOTION
     FOR SUMMARY JUDGMENT [ECF 111] AS TO DEFENDANT PAUL B. JONES


          Plaintiff St. Paul Fire and Marine Insurance Company (“St. Paul”) respectfully requests

   that the Court extend by fourteen days—or up to and including October 27, 2022—its deadline to

   file a reply in support of its February 11, 2022 Motion for Summary Judgment (the “MSJ,” ECF
Case 1:20-cv-00389-CNS-GPG Document 140 Filed 10/10/22 USDC Colorado Page 2 of 5




   111) as to Defendant Paul B. Jones only, and in support states1:

          D.COLO.LCivR 7.1(a) CERTIFICATION: St. Paul’s undersigned counsel has conferred

   with Jones’s counsel and is authorized to represent Jones does not oppose the relief requested by

   this Motion.

                                                MOTION

          1.      The Court may extend any deadline for “good cause” on motion submitted before

   the deadline expires. See Fed. R. Civ. P. 6(b)(1)(a). “Demonstrating good cause under the rule

   ‘requires the moving party to show that it has been diligent in attempting to meet the deadlines,

   which means it must provide an adequate explanation for any delay.’” Strope v. Collins, 315 F.

   App’x 57, 61 (10th Cir. 2009), quoting Moothart v. Bell, 21 F.3d 1499, 1504 (10th Cir. 1994).

          2.      Jones filed his brief in opposition to the MSJ on September 29, 2022. (See

   generally Def. P.B. Jones’s Resp. to St. Paul’s MSJ, Sept. 29, 2022 (the “Response,” ECF 138).)

   St. Paul’s reply as to Jones only must therefore be filed on or before October 13, 2022 (fourteen

   days after Jones filed his Response). See D.C.COLO.LCivR 7.1(d). This Motion is therefore

   timely, and good exists to extend St. Paul’s deadline to file a reply in support of its MSJ as to

   Jones only.



          1
             Former Defendant Stephen Meacham has been dismissed by stipulation, (see Stip. for
   Dismissal of Cls. Against S. Meacham with Prejudice, Sept. 9, 2022 (ECF 134)), and Defendant
   Women’s Health Care of Western Colorado, PC (the “Clinic”) filed for bankruptcy, (see Def.
   Women’s Health Care of W. Colo., PC’s Notice of Bankruptcy Filing, Sept. 30, 2022 (ECF
   139)). Given Meacham’s dismissal and the automatic bankruptcy stay as to the Clinic, see 11
   U.S.C. § 362(a)(1), the MSJ is pending only as to Defendant Paul B. Jones and is stayed as to the
   Clinic. See, e.g., Fortier v. Dona Anna Plaza Partners, 747 F.2d 1324, 1330 (10th Cir. 1984)
   (“There is nothing in [§ 362] which purports to extend the [bankruptcy] stay to causes of action
   against solvent co-defendants of the debtor.”) (internal citations omitted). Because of the § 362
   stay, this Motion does not seek any relief with respect to the Clinic.
                                                     2
Case 1:20-cv-00389-CNS-GPG Document 140 Filed 10/10/22 USDC Colorado Page 3 of 5




           3.      St. Paul needs additional time to review the Response (including new authorities

   and evidence cited in it), confer with its counsel, and determine how to address these authorities

   and new evidence.

           4.      Neither the Court nor Jones will be prejudiced by this brief extension. Indeed,

   Jones does not oppose this Motion, and the entire matter is otherwise stayed pending finalizing

   briefing and the Court’s ruling on the MSJ. Rather, the requested extension is necessary to allow

   St. Paul to completely address the Response and ensure the Court can rule on it after complete

   and fulsome briefing.

           5.      Under D.C.COLO.LCivR 6.1(b), undersigned counsel represents that this is St.

   Paul’s first request for an extension to file its reply in support of its MSJ.

           6.      Under D.C.COLO.LCivR 6.1(c), undersigned counsel certifies that a copy of this

   Motion is being served upon St. Paul.

           For these reasons, St. Paul respectfully requests that the Court grant this Motion and

   order that its deadline to file a reply in support of its MSJ as to Jones only is extended until up to

   and including October 27, 2022.




                                                      3
Case 1:20-cv-00389-CNS-GPG Document 140 Filed 10/10/22 USDC Colorado Page 4 of 5




   Dated: October 10, 2022.             Respectfully submitted,



                                        s/ Nathaniel Scott Barker
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                                        Attorneys for Plaintiff




                                       4
Case 1:20-cv-00389-CNS-GPG Document 140 Filed 10/10/22 USDC Colorado Page 5 of 5




                            CERTIFICATE OF SERVICE (CM/ECF)

          I HEREBY CERTIFY that on October 10, 2022, I electronically filed the foregoing
   PLAINTIFF ST. PAUL FIRE AND MARINE INSURANCE COMPANY’S UNOPPOSED
   MOTION FOR EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF MOTION
   FOR SUMMARY JUDGMENT [ECF 111] AS TO DEFENDANT PAUL B. JONES with
   the Clerk of Court using the CM/ECF system which will send notification of such filing to the
   following email addresses:

                Jeremy Andrew Sitcoff
                 jas@levinsitcoff.com

                Barrett Weisz
                 Weiszllc@gmail.com




                                             s/ Nathaniel Scott Barker
                                             Nathaniel Scott Barker




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